                 Case 2:16-cr-00001-TLN Document 18 Filed 02/03/16 Page 1 of 2


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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00001
12                                Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
                                                         SENTENCING; [PROPOSED] ORDER
13                          v.
                                                         DATE: April 1, 2016
14   ZALATHIEL AGUILA, and                               TIME: 9:00 a.m.
     OMAR ANABO,                                         COURT: Hon. Garland E. Burrell, Jr.
15
                                  Defendants.
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17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendants, by and
19
     through defendants’ counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for sentencing on April 1, 2016.
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            2.      By this stipulation, the parties now move to continue sentencing until November 4, 2016.
22
            3.      The parties agree and stipulate that this continuance will provide both parties additional
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     time to prepare for sentencing by, inter alia, researching issues pertinent to making a recommendation to
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     the Court for a proposed sentence.
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            IT IS SO STIPULATED.
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      STIPULATION AND [PROPOSED] ORDER REGARDING         1
30    CONTINUANCE
              Case 2:16-cr-00001-TLN Document 18 Filed 02/03/16 Page 2 of 2

     Dated: February 1, 2016                             BENJAMIN B. WAGNER
 1                                                       United States Attorney
 2
                                                         /s/ MATTHEW M. YELOVICH
 3                                                       MATTHEW M. YELOVICH
                                                         Assistant United States Attorney
 4

 5
     Dated: February 1, 2016                             /s/ MATTHEW M. SCOBLE
 6                                                       MATTHEW M. SCOBLE
 7                                                       Counsel for Defendant
                                                         ZALATHIEL AGUILA
 8

 9
     Dated: February 1, 2016                             /s/ DWIGHT M. SAMUEL
10                                                       DWIGHT M. SAMUEL
                                                         Counsel for Defendant
11                                                       OMAR ANABO
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                                                   ORDER
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           IT IS SO ORDERED.
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           Dated: February 3, 2016
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      STIPULATION AND [PROPOSED] ORDER REGARDING     2
30    CONTINUANCE
